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                                                                            425 Lexington Avenue
                                                                            New York, New York 10017
                                                                            Tel: (646) 837-5151
                                                                            Fax: (646) 837-5150
                                                                            www.hsgllp.com

Vincent Levy
646-837-5151
vlevy@hsgllp.com
                                                                            June 23, 2023
VIA ECF
Molly Dwyer
Clerk of Court
U.S. Court of Appeals for the Ninth Circuit
P.O. Box 193939
San Francisco, CA 94119-3939
(415) 355-8000

       Re:     Smagin v. Yegiazaryan, No. 23-55524 (Ninth Cir. 2023)

Dear Ms. Dwyer:
        I write on behalf of Respondent-Appellant in the captioned appeal. Earlier today, the
Court denied Appellant’s emergency motion to stay the lower court order on appeal (and further
related proceedings) pending appeal. Dkt. 19. The Court noted that the motion is “denied
without prejudice to renewal following presentation to the district court.” Id. Appellant
(proceeding pro se in the district court), however, presented a motion to stay pending appeal to
the district court, pursuant to Fed. R. App. P. 8. The district court denied the motion on June 13,
2023. See Case No. 2:14-cv-9764 (C.D. Cal.), Dkt. 423. That denial is enclosed hereto.
        Accordingly, Appellant respectfully renews the emergency motion for a stay pending
appeal, for the reasons given in Appellant’s emergency motion (Dkt. 7) and reply brief in further
support of the motion (Dkt. 15). Appellee’s opposition is at Dkt. 12.
        Relief is respectfully requested by the end of today, for the reasons stated in the
emergency motion, and in light of the fact that the district court has set a show-cause hearing for
this coming Monday, June 26 regarding the imposition of further sanctions, including
imprisonment, based on the order being appealed. If the Court needs additional time to consider
the motion, Appellant respectfully asks that the Court enter a temporary administrative stay of
the district-court proceedings to permit such review.
                                              Respectfully submitted,

                                              /s/ Vincent Levy
                                              Vincent Levy
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1    App’x 393, 397 (9th Cir. 2018). He also stands to suffer irreparable harm if a stay is not
2    entered. See Credit Suisse v. U.S. Dist. Ct. for Cent. Dist. of California, 130 F.3d 1342 (9th
3    Cir. 1997). In light of the foregoing, the equities also favor entry of a stay.
4          Accordingly, the Court issues the following order, the terms of which are set forth
5    below:
6          IT IS HEREBY ORDERED that the emergency ex parte application for a stay of
7    the Order at Dkt. 411, and any further contempt proceedings, is GRANTED. This stay
8    shall dissolve after the United States Court of Appeals issues its mandate to this Court.
9
10         IT IS SO ORDERED.
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12
     Dated: June _______, 2023
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14
                                              DENIED BY THE COURT
15
                                             R. GARY KLAUSNER
16                                           United States District Judge
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              [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR STAY PENDING APPEAL
